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 1
                                                     Chief Magistrate Judge Brian A. Tsuchida
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 6
 7                       UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF WASHINGTON
 8
                                     AT SEATTLE
 9
10                                                                    MJ20-451
      UNITED STATES OF AMERICA,                         CASE NO.
11
                             Plaintiff
                                                        COMPLAINT for VIOLATIONS OF
12
13                                                      Title 18, United States Code, Sections 2,
                        v.
                                                        1343, & 1957(a)
14
      MUKUND MOHAN,
15
                             Defendant.
16
17         BEFORE, Chief Magistrate Judge Brian A. Tsuchida, United States Magistrate
18 Judge, U. S. Courthouse, Seattle, Washington.
19         The undersigned complainant being duly sworn states:
20                                          COUNT ONE
21                                           (Wire Fraud)
22         From in or around April 2020 through in or around June 2020, at Seattle, in the
23 Western District of Washington and elsewhere, MUKUND MOHAN, the defendant,
24 knowingly devised and intended to devise a scheme and artifice to defraud the United
25 States, and to obtain money and property by means of false and fraudulent pretenses,
26 representations and promises, and attempted to do so.
27         A. Manner and Means
28         1.       It was part of the scheme that MOHAN submitted fraudulent loan
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 1 applications to Financial Institutions 1, 2, 3 and 4, seeking millions of dollars in funds
 2 through the Paycheck Protection Program (“PPP”), on behalf of Zuput Inc. (“Zuput”),
 3 Zigantic LLC (“Zigantic”), GitGrow Inc. (“GitGrow”), Vangal Inc. (“Vangal”), and Expect
 4 Success Inc. (“Expect Success”).
 5         2.       It was further part of the scheme to defraud that MOHAN submitted a
 6 fraudulent loan application to Financial Institution 5, seeking approximately $431,250 in
 7 funds through the PPP on behalf of Mahenjo Inc. (“Mahenjo”).
 8         3.       In support of Mahenjo’s fraudulent loan application, MOHAN made
 9 numerous false and misleading statements, including, but not limited to:
10                  a.    That, on February 15, 2020, Mahenjo was in operation and had
11 employees for whom it paid salaries and payroll taxes or paid independent contractors;
12                  b.    That, in 2019, its payroll expenses were more than $2.3 million;
13                  c.    That Mahenjo’s average monthly payroll expenses were at least
14 $172,250; and
15                  d.    That Mahenjo’s owner, MOHAN, was not the owner of any other
16 business and did not manage any other business.
17         4.       In further support of Mahenjo’s fraudulent loan application, MOHAN
18 submitted fake and altered documents, including fake federal tax filings and altered
19 incorporation documents.
20         B. Execution
21         On or about June 4, 2020, at Clyde Hill, in the Western District of Washington and
22 elsewhere, MOHAN, for the purpose of executing the scheme described above transmitted
23 and caused to be transmitted by means of wire, radio, and television communication in
24 interstate and foreign commerce, writings, signs, signals, pictures, and sounds for the
25 purpose of executing such scheme and artifice, to wit, an interstate wire from the State of
26 Washington to the State of California as part of the Fedwire transfer in the amount of
27 $431,250 from Financial Institution 5’s bank account to Mahenjo’s JP Morgan Chase
28 (“JPMC”) bank account.
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 1         All in violation of Title 18, United States Code, Sections 1343 and 2.
 2                                          COUNT TWO
 3                                       (Money Laundering)
 4         On or around May 26, 2020, at Clyde Hill, and elsewhere, in the Western District
 5 of Washington, MOHAN did knowingly cause and engage in, and attempt to cause and
 6 engage in, the following monetary transaction by, through, and to a financial institution,
 7 affecting interstate commerce, in criminally derived property of a value greater than
 8 $10,000, that is, the transfer of $50,000 from Zigantic’s bank account at Azlo Business
 9 Inc. (“Azlo”) with account number ending in 3419 to MOHAN’s personal brokerage
10 account at Robinhood with account number ending in 4609, such property having been
11 derived from a specified unlawful activity, namely, wire fraud in violation of Title 18,
12 United States Code, Section 1343, and bank fraud in violation of Title 18, United States
13 Code, Section 1344(2).
14         All in violation of Title 18, United States Code, Sections 1957(a) and 2.
15         And the complainant states that this Complaint is based on the following
16 information:
17         I, JAMES SHIELDS, being first duly sworn on oath, depose and say:
18         1.        I am a Senior Special Agent with the Federal Housing Finance Agency –
19 Office of Inspector General (“FHFA-OIG”).            I have been employed as a Senior
20 Special Agent of the FHFA-OIG since January 2013. I have received basic federal law
21 enforcement training, including at the Federal Law Enforcement Training Center, as well
22 as other specialized federal law enforcement training. I currently hold Certified Fraud
23 Examiner and Accredited Mortgage Professional certifications.          I have investigated
24 violations of federal statutes, including wire fraud, mail fraud, bank fraud, money
25 laundering, and theft of government and public money.           I have been a sworn law
26 enforcement officer during all times herein.
27         2.        The information contained in this Complaint is the result of my own
28 investigation as well as information provided to me by others, including other investigators
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 1 and law enforcement officers. In each instance when I recite information from such others,
 2 I have gained that information either by talking directly to such investigators and law
 3 enforcement officers or reviewing written reports of their investigation, or both. This
 4 Complaint accurately summarizes some of the evidence I discovered during my
 5 investigation; it does not, however, contain every detail known to me about the
 6 investigation.
 7                       FACTS ESTABLISHING PROBABLE CAUSE
 8                                The Paycheck Protection Program
 9        3.        The Coronavirus Aid, Relief, and Economic Security (“CARES”) Act is a
10 federal law enacted in or around March 2020 and designed to provide emergency financial
11 assistance to the millions of Americans who are suffering the economic effects caused by
12 the COVID-19 pandemic. One source of relief provided by the CARES Act was the
13 authorization of up to $349 billion in forgivable loans to small businesses for job retention
14 and certain other expenses, through a program referred to as the PPP. In or around April
15 2020, Congress authorized over $300 billion in additional PPP funding.
16        4.        In order to obtain a PPP loan, a qualifying business must submit a PPP loan
17 application, which is signed by an authorized representative of the business. The PPP loan
18 application requires the business (through its authorized representative) to acknowledge
19 the program rules and make certain affirmative certifications in order to be eligible to
20 obtain the PPP loan. In the PPP loan application, the small business (through its authorized
21 representative) must state, among other things, its: (a) average monthly payroll expenses;
22 and (b) number of employees. These figures are used to calculate the amount of money
23 the small business is eligible to receive under the PPP. In addition, businesses applying
24 for a PPP loan must provide documentation showing their payroll expenses.
25        5.        A PPP loan application must be processed by a participating lender, such
26 as a financial institution. If a PPP loan application is approved, the participating lender
27 funds the PPP loan using its own monies, which are 100% guaranteed by Small Business
28 Administration (SBA).        Data from the application, including information about the
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 1 borrower, the total amount of the loan, and the listed number of employees, is transmitted
 2 by the lender to the SBA in the course of processing the loan.
 3       6.          PPP loan proceeds may only be used by the business on certain permissible
 4 expenses—payroll costs, interest on mortgages, rent, and utilities. The PPP allows the
 5 interest and principal on the PPP loan to be entirely forgiven if the business spends the loan
 6 proceeds on these expense items within a designated period of time and uses a certain
 7 percentage of the PPP loan proceeds on payroll expenses.
 8                                        MUKUND MOHAN
 9         7.        MUKUND MOHAN is a United States citizen residing in Clyde Hill,
10 Washington. MOHAN is the Chief Technology Officer at BuildDirect. Based on his social
11 media presence, MOHAN also purports to be a successful serial entrepreneur focused on
12 tech startups.
13                         Fraudulent PPP Loan Applications Submitted
                 on Behalf of Zuput, Zigantic, GitGrow, Vangal, and Expect Success
14
15         8.        As described further below, evidence gathered in the investigation
16 demonstrates that, from in or around April 2020 through in or around June 2020, MOHAN
17 submitted, or caused to be submitted, eight fraudulent loan applications to five different
18 financial institutions in order to obtain funds through the PPP.
19         9.        The first seven of the eight fraudulent PPP loan applications are
20 summarized in the following chart:
21                                                               Approx.
         Applicant        Amount               Lender
                                                                  Date of               Status
22                        Sought
                                                                Application
23     Zuput Inc.       $150,000       Financial Institution 1 April 26, 2020     Approved
24
       Zuput Inc.       $223,727       Financial Institution 2 May 1, 2020        Canceled
25
26     Zigantic LLC $ 304,830          Financial Institution 2 May 1, 2020        Approved

27     GitGrow Inc.     $506,277       Financial Institution 2 May 2, 2020        Approved
28
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 1     Vangal Inc.       $1,728,398    Financial Institution 2 May 5, 2020         Withdrawn
 2
       Expect            $1,794,700    Financial Institution 3 May 5, 2020         Canceled
 3     Success Inc.
 4     Expect            $394,000      Financial Institution 4 May 7, 2020         Approved
       Success Inc.
 5
 6         10.        Based on the investigation, Financial Institutions 1 through 4 are federally

 7 insured financial institutions, members of the Federal Home Loan Bank System, and have
 8 participated as lenders in the PPP.
 9         11.        According to records obtained from Financial Institutions 1 through 4,

10 MOHAN represented that he is the Founder and/or Chief Executive Officer of Zuput,
11 GitGrow, Vangal, and Expect Success, and that his wife is the Founder of Zigantic.
12         12.        According to records obtained by Financial Institutions 1 through 4,

13 MOHAN also represented that Zuput, Zigantic, and GitGrow had the same business
14 address (“Address 1”), and that Vangal and Expect Success had the same business address
15 (“Address 2”). Address 1 and Address 2 are in Clyde Hill, Washington. Based on records
16 obtained from mortgage lenders, records obtained from Financial Institutions 1 through 4,
17 open source research, and surveillance conducted by federal agents, Address 1 and Address
18 2 are adjacent residential properties, not commercial properties with office space. In fact,
19 MOHAN currently resides at Address 1 with his family. MOHAN previously resided at
20 Address 2.
21         13.        MOHAN represented to Financial Institution 2 that Zuput had filed a Form

22 940, Employer’s Annual Federal Unemployment Tax Return, with the Internal Revenue
23 Service (“IRS”) in 2019, but MOHAN did not actually submit a copy in support of that
24 loan application because it was ultimately canceled. MOHAN submitted, or caused to be
25 submitted, a Form 940 with each of the six other PPP loan applications. A review of IRS
26 records revealed these Forms 940 to be fake: none of the returns had been filed with the
27 IRS and the amounts of tax deposits reported on these Forms 940 were not paid to the IRS.
28
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 1         14.        These seven PPP loan applications also contained materially false and
 2 misleading statements, including, but not limited to, that, on February 15, 2020, each
 3 applicant was in operation and had employees for whom it paid salaries and payroll taxes
 4 or paid independent contractors:
 5               a. As explained above, a review of IRS records revealed that these applicants
 6                  did not pay federal payroll taxes as of February 15, 2020.
 7               b. A review of Washington State Employment Security Department (“ESD”)
 8                  records revealed that there is no record of these applicants having paid any
 9                  employee wages or payroll taxes.
10               c. In addition, records obtained from the Washington State Department of
11                  Revenue (“DoR”) revealed that none of these applicants had registered with
12                  DoR or applied for a business license, with the exception of Zuput.
13               d. In the case of Zuput, MOHAN registered and applied for a business license
14                  on or about April 26, 2020, which is on or about the same date MOHAN
15                  submitted Zuput’s PPP loan application to Financial Institution 1. The
16                  information MOHAN provided in Zuput’s business license application to
17                  DoR, however, was inconsistent with that which he provided in Zuput’s
18                  PPP loan application that same day. MOHAN told Financial Institution 1
19                  that Zuput hired its first employee in April 2017 and that, by September
20                  2019, Zuput had hired 24 additional employees; MOHAN told DoR that
21                  Zuput hired its first employee in October 2019 and first paid that employee
22                  wages in November 2019.
23               Fraudulent PPP Loan Application Submitted on Behalf of Mahenjo
24         15.        Evidence gathered in the investigation demonstrates that, in addition to the
25 seven fraudulent loan applications described above, MOHAN submitted an eighth
26 fraudulent PPP loan application.
27         16.        According to an employee of Wyoming Corporate Services, Inc. (“WCS”)
28 (“WCS Employee 1”), whom I interviewed in June 2020, WCS was in the business of
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 1 incorporating and selling corporate entities. WCS incorporated corporate entities and then
 2 placed them on a shelf to “age” because “shelf companies” or “aged corporations” are more
 3 valuable and WCS can sell them for more money. Mahenjo was one of these shelf
 4 companies or aged corporations.
 5         17.      According to WCS Employee 1, and as corroborated by contemporaneous
 6 records obtained from WCS, on or about December 28, 2017, Harvard Business Services,
 7 Inc. (“HBS”) incorporated a company named Mahenjo and appointed an individual with
 8 the initials SKD as Mahenjo’s initial director.     In or about December 2018, SKD sold
 9 Mahenjo to WCS. WCS later marketed it for sale on the Internet as an aged company. On
10 or about May 22, 2020, an individual who identified himself as MOHAN, purchased
11 Mahenjo from WCS on the Internet.
12         18.      According to WCS Employee 1, Mahenjo was a “shelf company” that did
13 not have business activities or employees from December 2018 (when WCS purchased
14 Mahenjo from SKD) through at least May 22, 2020 (when MOHAN purchased Mahenjo
15 from WCS).
16         19.      According to records obtained from Financial Institution 5, on June 3,
17 2020, MOHAN applied to Financial Institution 5 for a PPP loan on behalf of Mahenjo for
18 $431,250.
19         20.      Financial Institution 5 is a federally insured financial institution, a member
20 of the Federal Home Loan Bank System, and has participated as a lender in the PPP.
21         21.      Based on records obtained from Financial Institution 5, MOHAN
22 completed and signed a PPP Borrower Application Form on behalf of Mahenjo. The PPP
23 Borrower Application Form represented that Mahenjo had 24 employees, that its average
24 monthly payroll was $172,500, and that the purpose of the PPP loan was to cover its
25 payroll. MOHAN represented that Mahenjo’s offices were located at Address 2.
26         22.      MOHAN made several certifications, including that Mahenjo “was in
27 operation on February 15, 2020 and had employees for whom it paid salaries and payroll
28 taxes or paid independent contractors.”
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 1         23.       MOHAN was also asked, “Is the Applicant or any owner of the Applicant
 2 an owner of any other business, or have common management with, any other business? If
 3 yes, list all such businesses and describe the relationship on a separate sheet identified as
 4 addendum A.” MOHAN responded “No.”
 5         24.       Based on records obtained from Financial Institution 5, MOHAN submitted
 6 several documents in support of Mahenjo’s PPP loan application, including:
 7               a. IRS Form 940 for 2019, in which he represented that Mahenjo had paid
 8                  $2,376,500 to its employees in 2019. MOHAN signed the form and dated
 9                  his signature March 29, 2020 (which is nearly two months before MOHAN
10                  purchased Mahenjo from WCS).
11               b. Two payroll reports for the date range February 1, 2020 through February
12                  29, 2020, in which he represented that Mahenjo had 24 employees and that
13                  its annual payroll expense was $188,291.67. The payroll reports were
14                  purportedly created on March 12, 2020 (which is over two months before
15                  MOHAN purchased Mahenjo from WCS).
16               c. A copy of Mahenjo’s purported incorporation documents. The version
17                  MOHAN submitted to Financial Institution 5 stated that Mahenjo was
18                  incorporated on December 28, 2017 and that, at the time it was incorporated,
19                  HBS appointed MOHAN as Mahenjo’s initial director.
20               d. A letter from HBS to MOHAN purporting to notify MOHAN of Mahenjo’s
21                  EIN. The letter is dated February 12, 2018 (which is over two years before
22                  he purchased Mahenjo from WCS).
23         25.      MOHAN falsely certified that Mahenjo “was in operation on February 15,
24 2020 and had employees for whom it paid salaries and payroll taxes or paid independent
25 contractors.” As explained above, Mahenjo was a “shelf company” and did not have
26 business activities or employees from at least December 2018 (when WCS purchased the
27 company from SKD) through at least May 22, 2020 (when MOHAN purchased the
28 company online from WCS).
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 1         26.      MOHAN’s statements that: (i) in 2019, Mahenjo’s payroll expenses were
 2 more than $2.3 million, and (ii) Mahenjo’s average monthly payroll expenses were at least
 3 $172,250, were also materially false and misleading. Records obtained from WCS and
 4 ESD reveal that, in 2019 and 2020, Mahenjo did not have employees and did not pay
 5 employee wages or payroll taxes.
 6         27.      MOHAN’s representation that he was not the owner of any other business
 7 and did not manage any other business, was also false and misleading. In truth, MOHAN
 8 owned at least three other businesses, namely Zuput, GitGrow, and Expect Success.
 9 MOHAN’s false and misleading representation had the effect of concealing his ownership
10 of companies that had already applied for and received over $1 million in PPP loans.
11         28.      A review of IRS records revealed the Form 940 that MOHAN submitted to
12 Financial Institution 5 to be fake: the return had not been filed with the IRS and the amounts
13 of tax deposits reported on the Form 940 were not paid to the IRS. Moreover, as explained
14 above, MOHAN purported to sign Mahenjo’s Form 940 for 2019, approximately two
15 months before he purchased Mahenjo.
16         29.      Evidence gathered in the investigation demonstrates that MOHAN falsified
17 another document that he submitted in support of Mahenjo’s PPP loan application: the
18 letter from HBS to MOHAN purporting to provide information about Mahenjo’s EIN. The
19 letter is dated February 12, 2018, which is over two years before MOHAN purchased
20 Mahenjo from WCS. The falsified letter was misleading in that it indicated that MOHAN
21 owned and controlled Mahenjo in 2018 when, in truth, he did not.
22         30.      Based on a comparison of records obtained from WCS and Financial
23 Institution 5, the incorporation documents MOHAN submitted to Financial Institution 5
24 were materially altered. The original incorporation documents obtained from WCS show
25 that, on December 28, 2017, HBS appointed SKD as Mahenjo’s initial director. The altered
26 version of the incorporation documents obtained from Financial Institution 5 falsely state
27 that on December 28, 2017, HBS appointed MOHAN as Mahenjo’s initial director. The
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 1 altered incorporation documents were misleading in that they indicated that MOHAN
 2 owned and controlled Mahenjo in 2017 when, in truth, he did not.
 3         31.      Based on records obtained from JPMC, on June 2, 2020, MOHAN opened
 4 a bank account at JPMC in the name of Mahenjo (account number ending 9159). In the
 5 account opening application, which MOHAN signed, MOHAN used Address 1 and
 6 Telephone Number 1, which, based on records obtained from T-Mobile, belonged to
 7 MOHAN. MOHAN also submitted the same altered incorporation documents that he
 8 submitted in support of Mahenjo’s PPP loan application.
 9         32.      Based on records obtained from Financial Institution 5, Mahenjo’s PPP
10 loan application was approved on June 3, 2020. MOHAN digitally signed the PPP loan
11 documents using an IP address which, based on records obtained from CenturyLink, was
12 associated with Address 1 (which is MOHAN’s residence).
13         33.      Based on records obtained from JPMC and Financial Institution 5, on June
14 4, 2020, Financial Institution 5 transferred $431,250 in PPP loan proceeds via an interstate
15 FedWire from its account in the Western District of Washington to Mahenjo’s bank
16 account with JPMC (account number ending 9159).
17          Monetary Transactions in Criminally Derived Property of a Value Greater Than
                                              $10,000
18
19         34.      Based on records obtained from Azlo, a financial institution that provides
20 online business banking services, on April 10, 2020, an individual purporting to be
21 MOHAN’s wife submitted an online application to open a bank account in Zigantic’s
22 name. Zigantic’s Azlo account (number ending 3419) was opened with a zero balance.
23         35.      As described above in paragraphs 8 through 14, on May 1, 2020, MOHAN
24 submitted a fraudulent application to Financial Institution 2 for a PPP loan on behalf of
25 Zigantic for $304,830.
26         36.      Based on records obtained from Financial Institution 2, on May 2, 2020, an
27 employee from Financial Institution 2 sent an email to MOHAN informing him that
28 Zigantic’s application had been approved and MOHAN responded with an email providing
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 1 wire transfer instructions so that Financial Institution 2 could wire the fraudulently
 2 obtained PPP loan proceeds to Zigantic’s Azlo account:
 3                  Hi ….
 4                  Our bank details are below:
 5                  Routing number: 062001186
 6                  Account number: XXXXXX3419
 7                  Zigantic LLC
 8                  Azlo Bank.
 9                  Business Address: [Address 1]
10         37.      Based on records obtained from Azlo, on May 14, 2020, Financial
11 Institution 2 wired the fraudulently obtained PPP loan proceeds to Zigantic’s Azlo account.
12 At the time Financial Institution 2 wired the PPP loan proceeds to Zigantic’s Azlo account,
13 that account only had a balance $1,641.89.
14         38.      Based on records obtained from JPMC, on May 6, 2020, MOHAN opened
15 a bank account at JPMC in the name of Expect Success (number ending 8877), which
16 MOHAN controls.
17         39.      Based on records obtained from Azlo, on May 18, 2020, an ACH transfer
18 in the amount of $221,471 was made from Zigantic’s Azlo account to Expect Success’s
19 JPMC account. The $221,471 ACH transfer, however, failed due to a processing error on
20 Azlo’s part and the money was returned to Zigantic’s Azlo account.
21         40.      Based on records obtained from Azlo, between May 20, 2020 and May 28,
22 2020, five ACH transfers – totaling $231,471 – were made from Zigantic’s Azlo account
23 to a brokerage account at Robinhood (number ending 4609).                     Robinhood is
24 financial services company that provides a mobile app and website that offer people the
25 ability to invest in securities. Based on records obtained from Robinhood, the brokerage
26 account belongs to MOHAN. The five ACH transfers from Zigantic’s Azlo account to
27 MOHAN’s Robinhood account are detailed below:
28
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1 hereby finds that there is probable cause to believe the Defendant committed the offenses
2 set forth in the Complaint.
3          Dated this 21st day of July, 2020.
4
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6
                                                    BRIAN A. TSUCHIDA
7
                                                    Chief United States Magistrate Judge
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